4:18-bk-16611 Doc#: 66-1 Filed: 06/18/19 Entered: 06/18/19 13:42:47 Page 1 of 1




                         CERTIFICATE OF SERVICE



      The undersigned hereby certifies that, on June 18, 2019, a true and
correct copy of the foregoing has been served on the Chapter 13 Standing
Trustee servicing this case and Charles W. Tucker, Assistant United States
Trustee by CM/ECF; and served on all creditor whose names and addresses
are set forth on the matrices filed in this case by U.S. Mail, postage prepaid.

      The undersigned further certifies that a true and correct copy of the
foregoing that requests a valuation determination pursuant to Section 3.4
was served by U.S. Mail, postage prepaid, to the following as noted:


Alan Harrison, Vice President of Member Business Services
Arkansas Federal Credit Union
P.O. Box 9
Jacksonville, AR 72078-0009
(Certified Mail, Return Receipt Requested)




                                       By: /s/ Matthew D. Mentgen
                                       Matthew D. Mentgen
                                       State Bar No. 2008096

                                       Mentgen Law
                                       PO Box 164439
                                       Little Rock, AR 72216
                                       Tel: (501) 392-5662
                                       Fax: (866) 528-0404
                                       matthew@mentgenlaw.com
